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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF OHIO
                            EASTERN DIVISION

United States of America

     v.                                      Case No. 2:18-cr-102

Marisa Wallace

                             OPINION AND ORDER
     By judgment entered on April 8, 2019, defendant was sentenced
to concurrent terms of incarceration of 72 months on Count 1,
conspiracy   to   distribute     and    to   possess   with    the   intent      to
distribute 500 grams or more of methamphetamine and oxycodone in
violation of 21 U.S.C. §846, and Count 2, Conspiracy to commit
money laundering in violation of 18 U.S.C. §1956(h).
     On November 19, 2020, this court received a letter from the
defendant seeking release on home confinement under the Coronavirus
Aid, Relief, and Economic Security Act (“CARES Act”), §12003(b)(2),
or for compassionate release from imprisonment under 18 U.S.C.
§3582(c)(1)(A) due to extraordinary and compelling circumstances
during the COVID-19 pandemic.          See Doc. 50.      Defendant contended
that her time credits were not properly calculated, and that the
denial of her release on home confinement was erroneous.                    This
letter was placed on the docket as a motion.
     On   December    16,   2020,    defendant     requested    compassionate
release under §3582(c)(1)(A).          See Doc. 53.    Defendant stated that
around “5-2020" she submitted a request for compassionate release
to the warden and did not receive a response within thirty days.
However, she did not submit any documents to establish that she did
in fact present a written request to the warden.                     Defendant
asserted that she is at serious risk from COVID-19 due to obesity,
her status as a former smoker, and the fact that she is African-
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American.    In her motion, defendant included an individualized
needs plan and other documents which list the courses she has taken
since being incarcerated as well as her participation in the cook’s
apprenticeship program.
     On January 4, 2021, defendant submitted a letter in further
support of her request for compassionate release. See Doc. 56. In
this letter, she stated that she has contracted COVID-19 and she
complained about the conditions in the institution.               She asked to
be released on home confinement.
     Counsel was appointed to represent the defendant on November
20, 2020.   On December 21, 2020, counsel filed a notice indicating
that he would not be supplementing defendant’s motions.                Doc. 54.
     Plaintiff claimed that she was on a list of inmates to be
released on home confinement under the CARES Act, but that her
release was denied by the warden in May because she had not served
fifty percent of her sentence.         Doc. 56, p. 2.       She alleged that
the CARES Act criteria were not applied correctly.               However, the
BOP has the sole authority to decide whether home confinement is
appropriate under the CARES Act. See United States v. Daniels, No.
4:08-CR-0464-SLB, 2020 WL         1938973 at *1-2 (N.D. Ala. Apr. 22,
2020)(only the BOP has the authority to place a defendant on home
confinement under the CARES Act); United States v. Serfass, No.
3:15-39, 2020 WL 1874126, at *3 (M.D. Pa. Apr. 15, 2020)(the
determination of which inmates qualify for home confinement under
the CARES Act is for the BOP director).           This court does not have
the authority to override the BOP’s decision concerning home
confinement placement under the CARES Act.               To the extent that
defendant alleged that her credits for time served were not


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properly calculated, that claim must be raised in a petition under
28    U.S.C.      §2241     filed    in    the   district   where   defendant       is
incarcerated.         See Woody v. Marberry, 178 F. App’x 468, 471 (6th
Cir. 2006)(court can grant relief under §2241 when sentencing
credits are miscalculated); Roman v. Ashcroft, 340 F.3d 314, 319
(6th Cir. 2003)(a court has jurisdiction over a habeas corpus
petition only if the court has jurisdiction over the petitioner’s
custodian).        Defendant is incarcerated in Kentucky, and this court
has no jurisdiction to resolve her claim involving credit for time
served.
       Under §3582(c)(1)(A)(i), a motion for reduction in sentence
for “extraordinary and compelling reasons” can be filed with the
court if the defendant has exhausted her administrative remedies.
If the defendant presents her request to the warden and receives no
response within thirty days, she may then file a motion in the
district court.            See United States v. Daniels, No. 4:08-CR-0464-
SLB, 2020 WL        1938973 at *2-3 (N.D. Ala. Apr. 22, 2020); Guzman v.
United States, No. 2:10-CR-161, 2019 WL 1966106, at *2 (E.D.Tenn.
May 2, 2019).        This exhaustion requirement is not jurisdictional,
but    is    a    mandatory    condition     which   must   be   enforced   if   the
government timely objects to the failure to exhaust. United States
v. Alam, 960 F.3d 831, 833-834 (6th Cir. 2020). Although defendant
claims that she submitted a request for compassionate release to
the warden, she has produced no documentary evidence to prove that
she in fact has exhausted her administrative remedies.
       Based on the foregoing, defendant’s motions (Docs. 50, 53 and
54) are denied. Defendant’s motion for release on home confinement
under       the    CARES    Act     is    denied.    Defendant’s     motions     for


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compassionate release under §3582(c)(1)(A)(i) are denied without
prejudice.   The defendant may renew her request for compassionate
release after she has exhausted her administrative remedies.


Date: January 12, 2021                 s/James L. Graham
                                James L. Graham
                                United States District Judge




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